               Exhibit CCC




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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                No. 1:23-CV-878

                                            )
DEMOCRACY NORTH CAROLINA; et al.,           )
                                            )
                    Plaintiffs,             )
                                            )
      v.                                    )
                                            )
ALAN HIRSCH, in his official capacity as    )
CHAIR OF THE STATE BOARD OF                 )
ELECTIONS; et al.,                          )
                                            )
                    Defendants.             )
                                            )


                     EXPERT REPORT OF DR. ANDREW TAYLOR




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   I.      Introduction and Qualifications


        Legislative Defendants have hired me to write this report in the case Democracy North

Carolina et al v. Hirsch et al. More specifically, they have asked me to provide my opinion

regarding the provisions of Senate Bill 747 (S. 747) dealing with changes to same-day

registration rules that the plaintiffs state in their complaint impact young voters

disproportionately. Plaintiffs assert this constitutes several violations of the United States

Constitution, including the Twenty-Sixth Amendment.

        I am a Professor of Political Science at North Carolina State University. I received my

Ph.D. from the University of Connecticut in 1995 and have taught at NC State for 30 years since

then—the past eighteen as a full professor. I teach an array of courses in American politics. I

served as chair of the Department of Political Science from 2006 to 2010 and President of the

North Carolina Political Science Association in 2012-13. I have written five books and

published extensively in academic political science journals.

        I have expertise in matters related to this case. I use a diverse array of methodologies in

my work, including different statistical techniques. I have been interviewed by scores of media

outlets about issues relating to North Carolina elections, politics, and policy and given dozens of

talks to political and civic groups on these topics over the past quarter century. Some of my

academic research analyzes these matters, including work on congressional and presidential

elections, public opinion, and North Carolina public life. I believe the principal reason I have

been invited to write this report is that I have knowledge of voting and elections, North Carolina

political history and constitutional law, and American national and state politics, policy, and the

law. My experience and broad interests in U.S., North Carolina, and state politics permit an




                                                  2

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integrated and panoramic social scientific understanding of this question before the court. I

attach my CV, which lists my complete credentials, to this report as Appendix A.

         I have previously served as an expert witness in elections-related cases. I provided a

report and testimony for the legislative respondents in the consolidated cases of Harper et al v.

Hall et al and North Carolina League of Conservation Voters et al v. Hall et al (File No 21CVS

015426). I wrote reports and testified via deposition in two other cases related to redistricting

and the Voting Rights Act, Pierce v. NCSBE and Williams/NC NAACP v. Hall. I later testified at

the Pierce trial. I also provided a report for the legislative respondents regarding a preliminary

injunction in another case related to S. 747, Voto Latino et al v. Hirsch and was deposed.

         The analysis and opinions I provide in this report are consistent with my education in

social science methods and knowledge of the relevant academic literature. These skills are well

suited to this analysis. I base the conclusions stated herein upon my review of the information

available to me at this time and in the period given to write this report. I reserve the right to

alter, amend, or supplement these conclusions based upon further study or based upon the

availability of additional information. My compensation in preparing this report is at the rate of

$425/hour. It is in no way contingent on the conclusions reached. The opinions in this report are

my own, and do not represent the view of North Carolina State University or the University of

North Carolina system.



   II.      Outline of the Report


         I will evaluate one component of S. 747 that is of interest to the plaintiffs. This regards

changes to same-day registration (SDR) procedures and its alleged disproportionate impact on

young voters, which plaintiffs define as those between the ages of 18 and 25. Indeed, the



                                                   3

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plaintiffs claim the reforms to SDR in S. 747 strategically “target” this group of voters and as

such constitute a violation of the United States Constitution. They point to changes in the

address verification or “undeliverable mail” requirement that they argue will materially increase

the number of SDR voters subject to the cancelation of their registration and rescinding of their

ballot by the election board through no fault of their own.

          I discussed any effect this change would likely have on voters generally in my report in

Voto Latino. The report here proceeds as a series of direct responses to the major claims that

appear to be important to the plaintiffs’ argument about the negative effects of S. 747 on the

voting rights of young North Carolinians. These claims appear in quotation marks at the

beginning of each section. As stated in Count Three of the complaint, the plaintiffs assert these

effects amount to intentional discrimination in violation of the XXVI Amendment to the United

States Constitution.



   III.      Response to “Young People Constitute a Clearly Identifiable Class of Voter”

          The plaintiffs refer to “young voters” as those aged 18 to 25 years old consistently

throughout the complaint. This is presumably to imply they constitute a distinctive group of

voters. Although 18 years old is the minimum voting age in the United States, placing an upper

limit on who is a young voter is arbitrary. Indeed, political scientists, practitioners, and

journalists define the term “young voters” in many different ways. It might make more sense to

talk about individuals who are eligible to vote in their first election. This would be 18-19 year

olds for federal or state elections, or 18-21 year olds for presidential elections. The voting age in

the United States at the time of the ratification of the XXVI Amendment in 1971 was essentially




                                                   4

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21—only three states permitted 18 year-olds to vote, Alaska, Georgia, and Kentucky.1 If the

XXVI Amendment effectively gave young Americans the right to vote, it conceived those aged

18-20 as young voters. Most commercial survey research outfits—including Gallup, New York

Times/Siena, Pew Research, and YouGov—use 18-29 year olds when asking respondents to put

themselves in an age cohort or summarizing results by age.2 Established, highly regarded

surveys that are frequently used by academic researchers also use the 18-29 categorization.

These include the Cooperative Election Study (CES) and the National Opinion Research

Center’s General Social Survey (GSS).3 The American National Election Studies (ANES)

survey merely asks respondents how old they are.4 Throughout their extensive study of young

people’s participation in elections and civic engagement more generally, Holbein and Hillygus

define “young voters” as those 18-29.5 The Bureau of the Census often uses 18-29 as well,

although it sometimes breaks down data into 18-24 year olds, 18-34 year olds, or 18-44 year olds

when summarizing results by age groups.6

        Political scientists are extremely interested in the role identity plays in contributing to

individuals’ sense of group or belonging. There is unsurprisingly a great deal of literature on

race, ethnic, and gender identity; it is too large to represent adequately in a footnote. Motivated

by the emerging “urban-rural divide” in American politics, researchers have also started to




1
  John W. Finney, “Senate Approves 18-Year Old Vote in All Elections,” New York Times,
March 11, 1971, 1, 20.
2
  See, electionstudies.org, gallup.com, www.nytimes.com/news-event/times-siena-poll-coverage,
pewresearch.org, today.yougov.com for many examples.
3
  See, cces.gov.harvard.edu and gss.norc.org.
4
  See, electionstudies.org.
5
  John B. Holbein and D. Sunshine Hillygus, Making Young Voters: Converting Civic Attitudes
into Civic Action, New York: Cambridge University Press, 2020.
6
  https://www2.census.gov/library/publications/decennial/2020/census-briefs/c2020br-06.pdf.

                                                   5

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explore something they call “place identity.”7 However, it is only very recently academics have

discovered the inclination to study “age identity.” Trachtman, Anzia, and Hill are perhaps the

first to do so in a systematic and empirical fashion in a 2023 paper.8 Interestingly, they show

that to the extent people in their late teens, twenties, and early thirties identify with others their

age, they do so considerably less than do senior citizens. Despite extensive media coverage of

the attitudes and behavior of groups like Gen Z, Millennials, and Baby Boomers, Munger shows

younger individuals do not identify particularly with generational labels either.9

           In conclusion, the term “young voters” does not describe a delineated and conspicuous

group of North Carolinians with a distinct identity and particular vulnerability to strategic

discrimination by the state. It is a term that defies consistent meaning to political scientists and

practitioners.



     IV.      Response to “North Carolina Has Historically Attempted to Restrain the Youth Vote”

           Congress extended the Voting Rights Act in 1970 with a provision to lower the national

voting age to 18. Four states—Arizona, Idaho, Oregon, and Texas—challenged the

constitutionality of the federal government’s action in court. In Oregon v. Mitchell (400 U.S.

112 (1970)), the U.S. Supreme Court upheld the legislation’s voting age provision regarding


7
  Nicholas F. Jacobs and B. Kal Munis, “Place-Based Imagery and Voter Evaluations:
Experimental Evidence on the Politics of Place,” Political Research Quarterly 72 (2019): 263-
77, Nicholas F. Jacobs and B. Kal Munis, “Place-Based Resentment in Contemporary U.S.
Elections: The Individual Sources of America’s Urban-Rural Divide,” Political Research
Quarterly 76 (2023): 1102-18, B. Kal Munis, “Us versus Them over There… Literally:
Measuring Place Resentment in American Politics,” Political Behavior 44 (2020): 1057-78.
8
  Samuel Trachtman, Sarah F Anzia, and Charlotte Hill, “Age-Group Identity and Political
Participation,” Research and Politics, Volume 10, Issue 2, April-June 2023,
https://doi.org/10.1177/20531680231166838.
9
  Kevin Munger, Generation Gap: Why the Baby Boomers Still Dominate American Politics and
Culture. New York, NY: Columbia University Press.

                                                   6

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federal elections but determined the government in Washington lacked the authority to impose

one for state and local elections. Justice Hugo Black provided the crucial vote, asserting that a

federal mandate for a minimum voting age in state and local elections violated the Tenth

Amendment. For purposes of consistency, therefore, the decision necessitated an amendment to

the Constitution if federal law was to provide blanket protection to the voting rights of citizens

aged 18-20.

         North Carolina did not stand in the way of these efforts to reduce the voting age. As it

ratified the Twenty-Sixth Amendment with Ohio on June 30, 1971, the provision collected the

support of the required three-fourths of states.10 The twelve states that either followed North

Carolina or did not ratify at all are in the Plains, Southwest, and Southeast. When proposed by

Congress, the Amendment went unopposed in the Senate and attracted only 19 votes in

opposition in the House.11 Not one member of the North Carolina delegation voted against—

even though there were a number of Southerners among the ‘no’ voters. Despite some hostility

to lowering the voting age among states with similar cultures and political traditions, therefore,

North Carolina did not formally object to the federal government’s effort to protect the voting

rights of people ages 18-20.

         Turnout among young people is no lower in North Carolina than it is elsewhere. The

Center for Information and Research on Civic Learning and Engagement (CIRCLE) at Tufts

University’s Tisch College of Civic Life considers itself “the preeminent national research center

on youth voting.”12 CIRCLE publishes a Youth Voting and Civic Engagement in America data




10
   Alexander Keyssar, The Right to Vote: The Contested History of Democracy in the United
States, New York: Basic Books, 2000.
11
   See: https://voteview.com/rollcall/RH0920016
12
   See: https://circle.tufts.edu/

                                                  7

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tool that provides estimated percentages of “young citizens,” ages 18-29, who cast a ballot in

recent elections. For the 40 states for which it had data, over the past three midterm-elections of

2014, 2018, and 2022, it ranked North Carolina 11th, 25th, and 14th in the proportion of eligible

voters 18-29 years old who turned out to vote. CIRCLE estimated that at 55 percent of eligible

voters in the cohort, the turnout among 18-29 year olds in North Carolina in the 2020

presidential election was tenth out of forty states for which there were data, second of eleven

states in the Southeast (only Virginia at 56 percent did better), and exceeded that of Connecticut,

Illinois, Massachusetts, Michigan, New York, Pennsylvania, and Ohio.13 North Carolina’s rate

was also higher than the national average, which for 2020 was fifty percent. As if to suggest the

presence of SDR has limited capacity to explain the turnout rate among young voters, some

states without SDR, like New Jersey and Oregon, experienced higher turnout among the cohort

than did North Carolina in 2020.

         We can also use proposed federal legislation to help us understand what kinds of state

policies some might consider to be efforts to restrain the youth vote. Sen. Elizabeth Warren, a

Democrat from Massachusetts, introduced S. 2985, the Youth Voting Rights Act, in the Senate

on September 28, 2023.14 She describes the bill as a response to an attack on voting rights and

an effort to help the XXVI Amendment fulfill its promise.15 The bill has numerous components,



13
   For the 2014 data, see: https://circle.tufts.edu/latest-research/state-state-youth-voter-turnout-
data-and-impact-election-laws-2022. For data since then, see CIRCLE’s data search tool at:
https://youthdata.circle.tufts.edu/. As of writing, researchers are still collecting precise data
about the 2024 election, but CIRCLE estimates that although overall turnout among younger
voters was down from 2020 it was highest in “battleground” states like North Carolina. See:
https://circle.tufts.edu/2024-election#overall-youth-turnout-down-from-2020-but-strong-in-
battleground-states
14
   See: https://www.congress.gov/bill/118th-congress/senate-bill/2985. As of March 5, 2024, the
bill had ten cosponsors.
15
   See: https://www.warren.senate.gov/newsroom/press-releases/senator-warren-rep-williams-to-
introduce-bill-to-expand-youth-access-to-voting

                                                 8

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but when Sen. Warren first introduced the legislation with her colleague Rep. Nikema Williams

(Democrat from Georgia) in the previous 117th Congress in July 2022, an accompanying press

release identified five provisions that were especially important and would force states to adopt

practices to “expand youth access to voting.”16

       The first is to “expand voter registration services at public colleges and universities” by

designating “offices at all public institutions of higher education as ‘voter registration agencies’

under the National Voter Registration Act of 1993” and “imposing voter registration obligations

on these institutions.” Public colleges and universities in North Carolina appear leaders in this

regard. The non-profit Fair Elections Center’s Campus Vote Project designates Appalachian

State University, Durham Technical Community College, East Carolina University, Elizabeth

City State University, Fayetteville State University, North Carolina A&T, North Carolina Central

University, North Carolina State University, UNC-Asheville, UNC-Chapel Hill, UNC-

Pembroke, and UNC-Greensboro as 2023-24 “voter friendly” campuses in a recent report.17 The

North Carolina Campus Voting Challenge organized by You Can Vote, North Carolina Campus

Engagement, and All-In Campus Democracy Challenge reports that the voter registration rate

among students at North Carolina colleges and universities was 89.5 percent in 2020. This

exceeded the national average, calculated by the National Study of Learning, Voting, and

Engagement (NSLVE) run by the Institute for Democracy and Higher Education at the Jonathan




16
   Id
17
   See:
https://www.campusvoteproject.org/_files/ugd/85cfb4_e9c915b2f12c4b649694894182dcbd54.p
df or https://www.voterfriendlycampus.org/campus-designees-2024. The private institutions
Elon University and High Point University were also considered “voter friendly.”

                                                  9

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M. Tisch College of Civic Life at Tufts University, by 6.5 percentage points.18 The equivalent

2022 figures were 87 percent for North Carolina campuses and 76 percent nationwide.19

       The national Campus Vote Project highlights UNC-Pembroke as exemplary in its efforts

to give students opportunities to register to vote.20 UNC-Chapel Hill’s Carolina Votes program,

a component of its Democracy Initiative, has the specific objective of encouraging students (and

faculty) to vote. It has a sprawling website that lists numerous resources for the purpose and

several endorsements, including from prominent figures like the university’s former football

coach, Mack Brown.21 My own institution, North Carolina State University, has a program

called “Pack the Polls” which provides students with resources to help them register to vote.

Student ambassadors are also available to help with the process and students can sign a “Civic

Engagement Pledge” to promise to register and receive a follow-up email or text to ensure they

do. There is also an accompanying course they can take, USC 298 (Introduction to Civic

Engagement and Social Change).22 The Division of Academic and Student Affairs runs the

program. Roughly 29 percent of NC State’s annual budget comes from state appropriations.23

These UNC-system programs are the closest North Carolina has to a statewide taxpayer-funded

get-out-the-vote program for any specific age group.24




18
   For the North Carolina Campus Voting Challenge data, see:
https://www.nccampuschallenge.org. The NSLVE data can be found at:
https://tufts.app.box.com/v/democracy-counts-2020
19
   See: https://www.nccampuschallenge.org/#2024.
20
   See p. 23 of the Campus Vote Project report.
21
   See: https://democracy.unc.edu/
22
   For more, see https://packthepolls.dasa.ncsu.edu/
23
   For more on NC State University’s budget, see:
https://budget.ncsu.edu/budgetcentral/documents/Brochure.pdf
24
   Some county boards of elections have Multi-partisan Assistance Teams (MATs) made up of
volunteers who visit older adults in care homes and hospitals who themselves do not have near-
relatives or others to help them with the process of voting.

                                                10

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       The second important provision of S. 2985 is “to establish pre-registration processes for

16- and 17-year-olds and allow states to expand their processes to youth younger than 16.”

According to the National Conference of State Legislatures (NCSL), North Carolina is one of

just eighteen states (along with Washington, D.C.) that permits preregistration beginning at 16

years old.25 The group of eighteen includes California, Maryland, New York, and Sen. Warren’s

home state of Massachusetts. Thirty-one states permit pre-registration at 17 years old, between

17 and 18 years old, or if the individual will be 18 by the next general election—depending on

the definition of “general election” that means some of the states in this category do permit pre-

registration as young as 16 years old.

       Third, S. 2985 wishes to ensure “the availability of polling places on campuses of

institutions of higher education, removing one of the most significant barriers to youth voting

access.” This is important because research has shown the further an individual’s residence from

an early voting place, the less likely they are to use this method of voting.26 On this metric,

North Carolina again does better than most states. As the Fair Elections Center reports, an MTV

Entertainment Studios-Duke University Master in Interdisciplinary Data Science study found

that for the 2020 general election, 90 percent of college campuses had no early in-person voting

place.27 Authenticated archived data regarding North Carolina’s 2020 and 2024 early-voting

polling places for the general election reveals twelve of the seventeen (or 70 percent of) UNC

campuses had early-voting in-person polling places in both elections (Appalachian State,




25
   See: https://www.ncsl.org/elections-and-campaigns/preregistration-for-young-voters
26
   Michael Bitzer, Tyler Dukes, and Christopher A. Cooper, “Substitution Effect, Turnout Effect,
or Both? Changes in Distance to the Early Voting Site and Voter Turnout.” Election Law
Journal: Rules, Politics, and Policy, 22(2023): 278-85, https://doi.org/10.1089/elj.2022.0065
27
   See: https://fairelectionscenter.org/media/mtv-partners-with-campus-vote-project-on-early-
vote-program/

                                                 11

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Asheville, NC A&T, Central, Charlotte, Elizabeth City State, ECU, Greensboro, NC State,

Western, and Winston-Salem State). Two private institutions, Duke University and Elon

University had early in-person voting sites. There were a couple of sites very close to the UNC-

Chapel Hill campus and one adjacent to the Fayetteville State campus. A number of community

colleges (Cape Fear, Central Carolina, Durham Tech, Guilford Tech, and Wake Tech) hosted

sites, as did several high schools.28

       Fourth, the proposed federal legislation intends to “prohibit durational residency

requirements for all federal elections” by, among other things, codifying “the right to vote from a

college domicile.” States have a legitimate interest in mandating durational residency

requirements. According to the courts, these are largely to prevent district-hopping and increase

the opportunities for voters to attain information about the community in which they now live

and the candidates who seek to serve it.29

       In addition to ruling on the voting age, the U.S. Supreme Court’s interpretation of the

1970 amendments to the Voting Rights Act in Oregon v. Mitchell also effectively prohibited

lengthy durational residency requirements, creating a 30-day state residency length to qualify for

federal elections as the maximum.30 This is the standard used by North Carolina. The state is




28
   For the 2020 sites, see: https://s3.amazonaws.com/dl.ncsbe.gov/One-
Stop_Early_Voting/2020/One-Stop%20Site%20List%20-
%20November%202020%20General%20Election.pdf. For the 2024 sites, see:
https://s3.amazonaws.com/dl.ncsbe.gov/One-Stop_Early_Voting/2024/Early-Voting-Site-List-
2024-General.pdf
29
   Kevin Frazier, “Residence Hopping: Protecting the Principle of One Person, One Vote, One
Place.” Appalachian Journal of Law, 22(2: 2023), 1-14, 9,
https://appalachian.scholasticahq.com/article/67907-residence-hopping-protecting-the-principle-
of-one-person-one-vote-one-place
30
   Eugene D. Mazo, “Residency and Democracy: Durational Residency Requirements from the
Framers to the Present.” Florida State University Law Review, 43(2: 2017),
https://ir.law.fsu.edu/lr/vol43/iss2/8

                                                12

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not unique in this regard, however. According to Eugene D. Mazo, as of 2015 (the latest date for

which I could find a comprehensive dataset), 13 other states had either a 30-day residency

requirement or voter registration cut-off at 30 days with no same-day registration procedure.31

Like all other states, North Carolina permits students to register their college domicile as their

address so long as they meet other requirements.

          Finally, the sponsors state it is the intent of S. 2985 that states accept student IDs to meet

voter-identification requirements in federal elections. According to NCSL, as of 2024, 21 states,

including North Carolina, require a photo ID for voting.32 The Campus Vote Project reported in

2023 that six of these do not consider a student ID an acceptable form of identification.33 This

list does not include North Carolina.34 Indeed, the North Carolina State Board of Elections

(NCSBE) has stated some student IDs are acceptable forms of identification for voting.35

          It is clear from the data presented in this section of the report that North Carolina does

not disadvantage young voters, however defined, as compared to the majority of other American

states.




31
   The states are Alaska, Arkansas, Georgia, Indiana, Louisiana, Mississippi, New Jersey, New
York, Ohio, Pennsylvania, South Carolina, Tennessee, and Texas. Since registrants must
provide a current address, a 30-day cut-off for registration is effectively a residency requirement
if the state does not permit same-day registration during early voting or on the day of the
election.
32
   See: https://www.ncsl.org/elections-and-campaigns/voter-id
33
   See: https://www.campusvoteproject.org/student-id-as-voter-id
34
   The six are Idaho, Missouri, Ohio, South Carolina, Tennessee, and Texas.
35
   See: https://www.ncsbe.gov/voting/voter-id/student-and-public-employee-ids-approved-voting

                                                    13

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     V.      Response to “S. 747 Seriously Undermines Same-Day Registration (SDR), A Method

             of Voting Disproportionately Used by Young Voters”

          SDR permits unregistered residents of a county to vote at the same time they register

when they take advantage of North Carolina’s in-person early voting procedure. The plaintiffs

argue S. 747 reduces the appeal of SDR voting, however, because it alters the mail verification

requirement for registration from two notices returned to the county board of elections as

undeliverable to one notice returned as undeliverable between the day of registration and the day

before canvassing. If the USPS returns the notice as undeliverable, the county board retrieves

the individual’s ballot and excludes it from the count. It should be noted that NCSBE

recommends election administrators record the SDR voter’s email and phone number so that

they can be contacted quickly to provide any clarifications and the necessary Help America Vote

Act (HAVA) document needed to verify their address and therefore record their ballot.36

          The plaintiffs argue this unfairly and negatively affects young voters because they use

SDR disproportionately. Indeed, there is research to show that SDR increases the overall voter

turnout rate and, especially, among the young.37 Data from Michael P. McDonald’s United

States Election Project are consistent with this. Between 1990 and 2006 (that is the last federal

election year before the institution of SDR in North Carolina) the state’s voting-eligible




36
   See:
https://s3.amazonaws.com/dl.ncsbe.gov/sboe/numbermemo/2023/Numbered%20Memo%202023
-05%20Same-Day%20Registration.pdf
37
   Barry C. Burden, David T. Canon, Kenneth R. Mayer, and Donald P. Moynihan, “Election
Laws, Mobilization, and Turnout: The Unanticipated Consequences of Election Reform.”
American Journal of Political Science 58(2014): 95-109. Burden et al show that whereas SDR
appears to increase aggregate turnout, early in-person voting results in lower turnout. Jacob M.
Grumbach and Charlotte Hill. “Rock the Registration: Same Day Registration Increases Turnout
of Young Voters,” Journal of Politics 84(2022): 405-17. https://doi.org/10.1086/714776

                                                  14

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population (VEP) turnout was about four percentage points lower than the national rate.38 From

2008 to 2022 (but excluding 2014 when there was no SDR) it was about 2.5 percentage points

higher.39

       These findings need to be placed in perspective, however. Recent work by Justin

Grimmer and Eitan Hersh shows that, using data and methods from the Grumbach and Hill study

cited above in footnote 37, SDR increases turnout by 0.67 percentage points in Mississippi (a

state chosen because of its purported particularly high barriers to voting), an effect that is not

statistically significant.40 Moreover, only a very small minority of North Carolina voters use

SDR. The Election Assistance Commission Election Administration and Voting Survey reveals

SDR votes in presidential election years (2008, 2012, 2016, and 2020) constitute approximately

3 percent of those cast for the office in the state.41 There have also been a number of years in

recent decades, including 2014 when SDR was not used, that the North Carolina turnout rate

exceeded that of the nation—1990 and 2002 are others in the period I analyzed. In fact, SDR

appears to have a greatly attenuated impact on turnout in midterm years.42 As a percentage of




38
   See: https://www.electproject.org/home
39
   https://www.electproject.org/home. At the same time, there have been other developments that
have helped increase North Carolina’s turnout relative to other states. The state has emerged as a
battleground in federal elections and this has attracted considerable amounts of media attention
and money from the national parties and other organizations. The state’s population is also
better educated. According to Census data, North Carolina ranked 37th of U.S. states by the
proportion of its adults with a college degree in 1990, in 2022 it was 22nd.
40
   Justin Grimmer and Eitan Hersh, “How Election Rules Affect Who Wins,” Journal of Legal
Analysis 16(2024): 1-25, https://doi.org/10.1093/jla/laae001. Grimmer and Hersh apply the
Grumbach and Hill method to Mississippi using a regression model to account for state and
election-specific fixed effects.
41
   See: https://www.eac.gov/research-and-data/studies-and-reports. As of writing, 2024 SDR
data were unavailable.
42
   Grumbach and Hill, “Rock the Registration”

                                                 15

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North Carolinians who voted for the highest office, those who used SDR were 0.8% in 2010,

1.4% in 2018, and 2.8% in 2022.43

           States’ rules concerning SDR are complex and varied. According to NCSL, however, 26

states do not permit voters to register and vote at the same time.44 These include “model” state

democracies such as Massachusetts and Oregon.45 It is true that of the 23 states and Washington

D.C. with SDR only New York and North Carolina do not permit the practice on election day

itself, but one or two others appear to have provisions on address verification similar to North

Carolina’s S. 747—New Hampshire being the closest according to my reading of NCSL’s data.46




     VI.      Response to “Since SDR is Disproportionately Used by Young Voters, Its

              Degradation by S. 747 Effectively Constitutes Their Disenfranchisement”

           If indeed it is, why would SDR be particularly attractive to younger voters? The

plaintiffs suggest it is a function of their geographic mobility. Students, especially, move around

regularly and find the flexibility of SDR—which effectively reduces the 25-day registration

requirement for election-day voters—appealing.



43
   I calculate these figures using data from McDonald’s website. The highest office in a midterm
year is either U.S. Senate or U.S. House.
44
   See: https://www.ncsl.org/elections-and-campaigns/same-day-voter-registration. North
Dakota does not have voter registration and therefore is excluded from this analysis.
45
   The “democratic backsliding” literature has identified a number of states as having exemplary
election practices. This is what I mean by a so-called “model” democracy. These states can
generally be found in the northeast, around the Great Lakes, or on the west coast. See, for
example, Jacob M. Grumbach, Laboratories against Democracy: How National Parties
Transformed State Politics, Princeton, NJ: Princeton University Press.
46
   See: https://www.ncsl.org/elections-and-campaigns/same-day-voter-registration. Until court
action in 2024, Montana’s rules regarding SDR were similar to North Carolina’s too (that is,
SDR was permitted only during the early-voting period).

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       According to the Census Bureau’s 2023 American Community Survey (ACS) five-year

estimates, a greater proportion of 18-24 year-olds moved both across county lines within North

Carolina and from a different state into North Carolina than did any other age cohort.47 It is

estimated 9.9 percent of people in the group moved to a different county and 7.0 percent came

from outside the state. The 25-34 year-old group had the second highest proportion of voters at

6.0 percent for cross-county moves and 5.1 percent for those into the state from elsewhere in the

country. For comparison, in third place was the 1-4 year-old cohort with 3.7 percent for inter-

county moves within North Carolina and 3.1 percent for inter-state moves.

       These data are for year-on-year moves, monthly equivalents do not exist. This is

problematic for an argument that, as frequent movers, S. 747’s changes to SDR

disproportionately and adversely affect young people because the durational residency

requirement for voting is just thirty days. As a result, it would be very helpful to know when in

the year people tend to move. We can make an informed guess as to what months North

Carolinians in the 18-24 year-old cohort change residence, however. If we assume this age

group moves at higher proportions because most of them are students—54.4 percent of North

Carolinians 18-24 years old have either a bachelor’s degree or some college experience—we

should expect to see the majority of changes of residence just before the academic semesters

start.48 This is August for most students and January for the remainder who move between

semesters or commence their studies in the spring. In both cases, students have considerable

time to register for the November general election or primary that historically takes place in

either March or May.



47
   See: https://data.census.gov/table/ACSST5Y2023.S0701?g=040XX00US37
48
   The education data come from the same ACS 2023 5-year survey. See:
https://data.census.gov/table/ACSST5Y2023.S1501?g=040XX00US37.

                                                17

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       Interestingly, different plaintiffs in another suit are directly challenging North Carolina’s

30-day residency requirement for voters—that, I have noted, is a common rule. The North

Carolina Alliance for Retired Americans claims standing in their case not least because it

violates “the Alliance’s members’ voting rights” under the Voting Rights Act and the U.S.

Constitution.49 The group’s actual and potential members, it argues, move frequently throughout

the year, including, they are eager to note, in the month leading up to an election when,

presumably, other citizens are not moving as much. The group also asserts North Carolina is a

popular state for relocation among senior citizens.50 The plaintiffs in the Alliance for Retired

Americans case suggest that residency and registration requirements disproportionately and

unfairly affect the rights of the very oldest of us, not those between about 18 and 30 years-old.

       I can find no evidence to conclude that SDR was established with a particular age group

of voters in mind. If there was a “type” of voter the procedure was directed towards, I would

guess it was procrastinators and those who move across county lines or into the state very close

to an election. According to the 2023 ACS 5-year estimates used above, about 550,000 North

Carolinians of voting age move into a different county within the state or into the state from

another U.S. state in each year. Most probably do not worry about the durational residency

requirement for voting if they come in an odd-numbered year. Most of those that move in any

year, including the even-numbered ones when we hold federal and major state elections, do so




49
   See the complaint of the North Carolina Alliance for Retired Americans in North Carolina
Alliance for Retired Americans v. Hirsch, https://www.democracydocket.com/wp-
content/uploads/2023/10/1-2023-10-02-complaint.pdf
50
   According to a 2023 Annual Social and Economic Supplement of the Current Population
Survey cited by the National Reverse Mortgage Lenders Association, only 3 percent of retirees
who moved across state lines the same year came to North Carolina. That amounts to about
10,000 people. See: https://www.nrmlaonline.org/2024/01/26/seniors-flocked-to-these-states-in-
2023

                                                18

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between Memorial Day and Labor Day, outside the period immediately prior to primary and

general elections.51 Within a month of an election, North Carolina also does not compel the

revocation of registration at a previous address.52 All potential voters who have not moved into

North Carolina from another state within 30 days of an election can therefore still use the state’s

no-excuse absentee voting (vote by mail), early in-person voting, or in-person voting on the day

of the election if they do not wish to use SDR.




     VII.   Response to “Young Voters Experience Disproportionately High Rates of Failed

            Address Verification”

        As noted, S. 747 alters the process of address verification for SDR. The plaintiffs report

an analysis of NCSBE data on “registration applicants who were rejected or otherwise not added

to the official eligible voter list due to failed mail address verification” revealed “nearly 50

percent of the approximately 91,000 denials that were recorded from January 2012 to January

2022 were attributed to registrants aged 18 to 25.”53 They argue this demonstrates the change

particularly disadvantages young North Carolinians.

        I offer two points by way of a response. First, if we assume residents 18-25 years old

submitted approximately 45,000 of the registration applications denied because the address could

not be verified, the number, according to data from the state’s Office of State Budget and



51
   The National Association of Realtors’ figures show that a majority of home sales occur at this
time. See, for example, https://www.nar.realtor/blogs/economists-outlook/seasonality-in-the-
housing-market
52
   See: NC General Statutes § 163-55.
53
   See the plaintiffs’ complaint in Democracy NC et al v. Hirsch et al, civil action No. 23-878, p.
25.

                                                  19

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Management, constitutes around 3.5 percent of all North Carolinians in that age group in 2022.54

Note, moreover, the plaintiff’s figures are totals for a full decade in which there were numerous

elections including three high-turnout presidential contests (2012, 2016, and 2020). For

additional perspective, around 150,000 state residents turned 18 years old annually over that

decade.

       Second, although under state law students should only register at their college address if

they do not intend to return home following their studies, presumably a sizeable proportion of

them register using their college domicile. The reason plaintiffs claim young people are

disproportionately affected by the address verification requirement is that many students who

register using their college residence acquire a “particular dorm room, P.O. Box, or (with a)

college/university-specific modifier” that can create delivery problems.55 In these instances,

undeliverable mail is the fault of the United States Postal Service (USPS) and not the voter. I

have no way to evaluate the extent to which this happens, but in a previous expert report

(submitted in Voto Latino v. Hirsch) I assessed the frequency with which the USPS made

mistakes when mail was considered undeliverable. In May 2015, the Office of the Inspector

General, citing a 2006 Major Mailers Association study, reported that up to 23 percent of all

undelivered mail is the result of USPS error. The mail had a valid address but was not delivered

because of a sorting error or because a carrier could not locate the proper place to hand over the

item. The remaining undeliverable mail was presumably the fault of the sender or addressee and

their failure to report or write an eligible and correct address. Since only 4.3 percent of mail is




54
  See: https://www.osbm.nc.gov/population-projections-state-single-age-2029
55
  See the plaintiffs’ complaint in Democracy NC et al v. Hirsch et al, civil action No. 23-878, p.
26.

                                                 20

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actually undelivered, about 99 percent of all mail is therefore either deliverable or undeliverable

as the result of user, not USPS, error.56

       The concerns plaintiffs have about deliverable mail are in stark contrast to the

recommendations they give North Carolinians. Democracy NC characterizes voting by mail as

“easy” on its website and frequently proposes residents do it, or take advantage of SDR, in its

social media feeds.57 We should note, moreover, that unlike address verification under SDR,

absentee voting by mail is subject to a kind of “double jeopardy” since the NCSBE both sends

and receives the ballot through the postal service. There do not seem, therefore, to be the same

kinds of concerns about the USPS’s role in voting by mail.58 Indeed, eight states, in addition to

the District of Columbia, conduct their elections for all offices entirely by mail and two states

permit counties to opt into such a process.59




56
   The report containing these data is “Strategies for Addressing Undeliverable as Addressed
Mail” from the Office of the Inspector General, USPS, May 1 2015, report number MS-MA-15-
006. See: https://www.uspsoig.gov/sites/default/files/reports/2023-01/ms-ma-15-006.pdf. USPS
periodically updates UAA data. The use of 2015 seems dated but I do not believe there is a more
recent study estimating the proportion of UAA that is USPS error. USPS keeps annual data on
UAA, but it is impossible to discern from them whether the various classes can be considered
USPS or user error. Although the proportion of all mail that is UAA has gone down marginally
since 2015, for most years since then it remains at about 4 percent. For very recent figures, see:
https://postalpro.usps.com/UAARollup.
57
   See: https://democracync.org/wp-content/uploads/2017/05/AbsenteeGuideCard.pdf.
58
   Both political parties encourage vote by mail, suggesting they do not perceive any problems
with the process. The Republican National Committee, for example, recently launched the
“Bank Your Vote” campaign to address perceived advantages Democrats have in voting by mail.
Biden for President and the DNC also jointly launched an effort to increase vote by mail ahead
of the 2020 election. See: https://democrats.org/news/biden-for-president-dnc-announce-new-
vote-by-mail-features-on-iwillvote-com/
59
   The eight states that conduct all of their elections entirely by mail are: California, Colorado,
Hawaii, Nevada, Oregon, Utah, Vermont, and Washington. The two states that permit counties
to opt-in are Nebraska and North Dakota. See: https://www.ncsl.org/elections-and-
campaigns/table-18-states-with-all-mail-elections

                                                 21

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   VIII.   Response to “While S. 747 Makes it More Difficult for Young North Carolinians to

           Vote, It Fails to Increase Election Integrity or Improve Election Administration”

       I note four things in response to the claim S. 747 does nothing to increase election

integrity and improve election administration. This is an argument I made in my report in the

Voto Latino case. First, everything we know about in-person voter fraud is through documented

instances. These are nearly always the result of prosecutions brought by law enforcement. They

suggest instances are low. However, we have no real idea of how much uninvestigated voter

fraud occurs. Prosecuting voter fraud appears low priority—presumably because it is time and

resource consuming, often politically sensitive, and potentially interested individuals do not

dispute the election outcome. In-person election-day voter fraud is also relatively easy to detect.

Investigators can match prior registration data—that officials have already checked and made

publicly available online for anyone to inspect—with information provided by the citizen at the

time of voting, including their formal ID. Without existing registration information—as is the

case with SDR—any fraud is more challenging to find. This necessitates an effort to verify the

SDR voter’s address following their registration and casting of a ballot.

       Second, it is important that election administrators know the precise address of the voter.

Proof of state residency can determine eligibility to vote in statewide elections such as U.S.

President or Governor, but for most contests, from U.S. House down to many municipal offices,

it is necessary to determine a street address within North Carolina. This enables administrators

to assign a voter to the correct precinct and therefore present them with the correct ballot. North

Carolina’s provisional ballot rules—that, according to the NCSL and non-partisan Movement

Advance Project, are similar to those in many other states—permit a voter to cast a ballot outside




                                                22

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their precinct in certain circumstances.60 However, it is critical, for the purposes of tallying votes

accurately, that administrators know exactly where voters live. If a central feature of voter fraud

is its capacity to contribute illegitimately to candidate vote tallies, then, to ensure that people

vote in the correct district, knowledge of a voter’s address is as critical to the determination of

their eligibility as their age and citizenship.

        Third, Americans are clearly concerned about voter fraud. Gallup surveys show that

since 2008, only 60-70 percent of respondents are “very” or “somewhat” “confident” that “votes

will be accurately cast and counted” in the upcoming election.61 A September 2016—and

therefore pre-Trump presidency—Associated Press/National Opinion Research Center poll

reported 35 percent of respondents believed there was a “great deal” of voter fraud, an additional

39 percent “only some.”62 On the eve of the 2024 election, a NPR/Marist poll reported 58

percent of respondents were either “concerned” or “very concerned” that the upcoming election

would experience “voter fraud.”63 Fraud may trouble North Carolina policymakers and the

public’s confidence in election integrity, especially following the 2018 election in the state’s

Ninth Congressional District, appears dented. With the two major-party candidates in that

contest separated by less than one thousand votes after tallying, NCSBE unanimously refused to

certify the results following accusations of widespread fraud. After an extensive hearing, it

conducted an entirely new general election.




60
   On the Movement Advance Project and its comparison of state laws governing provisional
ballots, see: https://www.lgbtmap.org/democracy-maps/provisional_ballot_policies. North
Carolina potentially counts votes cast in the wrong precinct but not the wrong county. Thirty
states do not do even allow this.
61
   https://news.gallup.com/poll/404675/confidence-election-integrity-hides-deep-partisan-
divide.aspx
62
   See: https://apnorc.org/wp-content/uploads/2020/02/Elections-and-Fraud-Topline_FINAL.pdf
63
   See: https://maristpoll.marist.edu/polls/the-u-s-presidential-contest-october-2024/

                                                  23

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       Fourth, the plaintiffs are concerned that S. 747’s address verification requirement will

effectively disenfranchise many SDR voters. A fraudulent vote disenfranchises when it is cast

for a candidate who opposes the candidate a legitimate voter selected. However onerous

plaintiffs allege S. 747’s address verification requirement is, it does not disenfranchise a voter in

this way—and as do imposture, false registration, duplicate voting, or ineligible voting. The rule

is transparent and applied prospectively meaning good-faith voters who use SDR in future

elections understand the risks. If they cannot tolerate the possibility of their registration canceled

and ballot retrieved, the individual can register and later vote in-person or absentee as do around

97 percent of others who cast ballots in North Carolina elections.

       In fact, since 2000, North Carolinians have been able to vote early in person without an

“excuse” at a polling place that was not their county board of elections office.64 The candidates

and parties quickly realized what this meant. They now regularly appeal to citizens to “bank”

votes by casting an absentee vote or voting in person early. The suggestion is the voter’s car

might breakdown, child get sick or boss unwilling to grant them leave; any number of things

could prevent them from going to the polls on the official day of the election. Campaigns warn

voters that should they choose to wait and vote on the last day, there is a chance their vote might

not count—and potentially for reasons beyond their control. Many voters presumably

understand this risk and take advantage of one of the other means of voting available to them.

Indeed, according to NCSBE, in 2022, only 41.6 percent of voters in the North Carolina U.S.




64
  According to NCSL, even today only fifteen states have neither all-mail nor no-excuse
absentee voting. See: https://www.ncsl.org/elections-and-campaigns/voting-outside-the-polling-
place

                                                 24

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Senate election cast their ballots in person on November 8. In 2024, only 20.5 percent of North

Carolinians who voted in the presidential contest did so on election-day.65




      IX.      Conclusion

            This report constitutes my evaluation of S. 747’s effects on the voting rights of young

North Carolinians, particularly since the plaintiffs claim they disproportionately take advantage

of North Carolina’s SDR procedure. I conclude:

            1. Young people do not constitute a clearly identifiable group of voter,

            2. North Carolina has not historically attempted to restrain the youth vote,

            3. S. 747 does not materially undermine same-day registration (SDR),

            4. Young people use SDR out of choice rather than necessity,

            5. If young people do experience disproportionate incidents of non-user-error failed

               address verification in the SDR process, the effect is negligible,

            6. It is not clear S. 747 fails to increase election integrity or improve election

               administration.




65
     These data can be found by searching at: https://er.ncsbe.gov/

                                                     25

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